          Case 1:17-cv-02459-ABJ Document 1 Filed 11/15/17 Page 1 of 13



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


FREEDOM WATCH, INC.

                  Plaintiff,
v.

THE HONORABLE JEFF B. SESSIONS, in his official
capacity as Attorney General of the United States of America
on behalf of the UNITED STATES DEPARTMENT OF
JUSTICE                                                           COMPLAINT FOR WRIT OF
Washington, DC                                                         MANDAMUS

      And

THE HONORABLE ROBIN C. ASHTON, in her official
capacity as Director of the Office of Professional
Responsibility on behalf of the OFFICE OF PROFESSIONAL
RESPONSIBILITY of the United States Department of Justice
Washington, DC

      And

THE HONORABLE MICHAEL E. HOROWITZ, in his
official capacity as the Inspector General of the Department of
Justice on behalf of the OFFICE OF THE INSPECTOR
GENERAL of the United States Department of Justice
Washington, DC

      And

THE HONORABLE CHRISTOPHER A. WRAY, in his
official capacity as Director of the Federal Bureau of
Investigation on behalf of the FEDERAL BUREAU OF
INVESTIGATION
Washington, DC

                  Defendants.




                                                1
              Case 1:17-cv-02459-ABJ Document 1 Filed 11/15/17 Page 2 of 13



I.      INTRODUCTION

        Plaintiff Freedom Watch, Inc. (“Freedom Watch”) brings this action against Defendants

United States the Honorable Jeff B. Sessions (“Mr. Sessions”) in his official capacity as Attorney

General of the United States of America on behalf of the United States Department of Justice

(“USDOJ”), the Honorable Robin C. Ashton (“Ms. Ashton”) in her official capacity as Director

of the Office of Professional Responsibility on behalf of the Office of Professional

Responsibility of the United States Department of Justice (“OPR”), the Honorable Michael E.

Horowitz (“Mr. Horowitz”) in his official capacity as the Inspector General of the Department of

Justice on behalf of the Office of the Inspector General of the United States Department of

Justice (“IG”), and the Honorable Christopher A. Wray (“Mr. Wray”) in his official capacity as

Director of the Federal Bureau of Investigation on behalf of the Federal Bureau of Investigation

(“FBI”) (collectively “Defendants”) seeking a writ of mandamus pursuant to 28 U.S.C. § 1361

compelling Defendants to conduct an expedited investigation into the the torrent of leaks

surrounding the Special Prosecutor Robert Mueller’s (“Mr. Mueller”) investigation into Russian

interference in the 2016 presidential election (“the Mueller Investigation”).

II.     JURISDICTION AND VENUE

        1.       This Court has subject matter jurisdiction over this case pursuant to 28 U.S.C. §

1331 (Federal Question Jurisdiction)

        2.       Venue is proper pursuant to 18 U.S.C. § 1965 and 28 U.S.C. § 1391(b)(2), (3) in

that Defendants reside here and are subject to personal jurisdiction in this District.

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                                                  2
            Case 1:17-cv-02459-ABJ Document 1 Filed 11/15/17 Page 3 of 13



III.     PARTIES

                                              Plaintiff

         3.     Freedom Watch is a 501(c)(3) corporation, incorporated under the laws of the

District of Columbia.

                                            Defendants

         4.     Defendant Mr. Sessions is being sued in his official capacity as Attorney General

of the United States of America on behalf of the United States Department of Justice.

         5.     Defendant Ms. Ashton is being sued in her official capacity as Director of the

Office of Professional Responsibility on behalf of the United States Department of Justice.

         6.     Defendant Mr. Horowitz is being sued in his official capacity as Inspector

General on behalf of the United States Department of Justice.

         7.     Defendant Mr. Wray is being sued in his official capacity as Director of the

Federal Bureau of Investigation on behalf of the Federal Bureau of Investigation.

IV.      STANDING

         8.     Plaintiff has standing to bring this action because it has been directly affected and

victimized by the unlawful conduct complained herein. Its injuries are proximately related to the

conduct of Defendants, each and every one of them, as it is a public interest watchdog which

investigates and prosecutes government corruption on behalf of the American people and

disseminates information to them.

V.       FACTS
                                    BACKGROUND FACTS

         9.     In May 2017, Mr. Mueller was appointed by the USDOJ as Special Counsel to

conduct along with the FBI a criminal investigation into alleged Russian interference in the 2016

presidential election.



                                                  3
           Case 1:17-cv-02459-ABJ Document 1 Filed 11/15/17 Page 4 of 13



        10.     Mr. Mueller has been tasked with investigating whether or not Russia interfered

in the U.S. presidential election in the 2015-2016 election cycle, and if so to what extent and in

what ways and whether in collusion with any U.S. campaigns or institutions.

        11.     Mr. Mueller was appointed because the Attorney General, Mr. Sessions,

needlessly recused himself from overseeing an investigation into a fanciful theory that we now

know was invented by the Hillary Clinton presidential campaign in their deliberations within 24

hours of suffering an unexpected loss in the November 8, 2016 presidential campaign. Out of an

abundance of caution, Mr. Sessions bent over backwards to avoid even the slightest appearance

of bias or conflict of interest and recused himself.

        12.     On September 11, 2017, Freedom Watch made a Complaint Against Special

Counsel Robert Mueller and Staff and Request for Expedited Investigation Into Gross

Prosecutorial Misconduct of Prosecuting Attorneys to Mr. Horowitz and Ms. Ashton and their

respective offices, the IG and OPR. Exhibit 1.

        13.     Since the Complaint was made, neither OPR nor the IG has been willing to

confirm that an investigation is underway and thus one can only conclude that no such

investigation exists or is underway. Thus, it is clear that Defendants will not take action without

the requested judicial intervention.

   FACTS PERTAINING TO THE LEAKS FROM MR. MUELLER AND HIS STAFF

        14.     Since the inception of the Mueller Investigation, a pattern of a persistent torrent of

leaks has emerged, and considering their nature, it is clear that the majority of these leaks are

coming from Special Counsel Robert Mueller and his staff, most of whom are suffering from

serious conflicts of interest.




                                                  4
          Case 1:17-cv-02459-ABJ Document 1 Filed 11/15/17 Page 5 of 13



       15.     The nature as well as the quantity of these leaks makes it clear that they are

coming from the USDOJ and/or FBI, and Mr. Mueller’s legal staff, which are technically under

the direction and control and authority of USDOJ as well.

       16.     What Mr. Mueller's staff is focused on, their progress, activities, and even what

they are thinking are being regularly reported in the news media on an almost daily basis.

       17.     For instance, a NBC News article stated:

               Federal investigators working for Special Counsel Robert Mueller
               are keenly focused on President Donald Trump's role in crafting a
               response to a published article about a meeting between Russians
               and his son Donald Jr., three sources familiar with the matter told
               NBC News. The sources told NBC News that prosecutors want to
               know what Trump knew about the meeting and whether he sought
               to conceal its purpose.1

       18.     The Wall Street Journal was also privy to the investigative goals and activities of

Mr. Mueller’s office:

               Special counsel Robert Mueller is examining what role, if any,
               former national security adviser Mike Flynn may have played in a
               private effort to obtain Hillary Clinton’s emails from Russian
               hackers, according to people familiar with the matter.
               The effort to seek out hackers who were believed to have stolen
               Mrs. Clinton’s emails, first reported by The Wall Street Journal,
               was led by a longtime Republican activist, Peter W. Smith.2
                 
       19.     In fact, just about every news media outlet has known exactly what Special

Counsel Mueller and his compromised staff is doing on a daily basis:

               The letter Mueller is reviewing was drafted by Trump along with
               policy adviser Stephen Miller, and legal experts say it is possibly

1
  Julia Ainsley and Tom Winter, Mueller Team Asking if Trump Tried to Hide Purpose of Trump
Tower Meeting, NBC News, August 28, 2017, available at: https://www.nbcnews.com/news/us-
news/mueller-team-asking-if-trump-tried-hide-purpose-trump-tower-n796746
2
  Shane Harris, Special Counsel Examines Possible Role Flynn Played in Seeking Clinton Emails
From Hackers, The Wall Street Journal, August 25, 2017, available at:
https://www.wsj.com/articles/special-counsel-examines-possible-role-flynn-played-in-seeking-
clinton-emails-from-hackers-1503694304

                                                5
          Case 1:17-cv-02459-ABJ Document 1 Filed 11/15/17 Page 6 of 13



               the most critical piece of evidence in Mueller's obstruction-of-
               justice case since Comey's testimony before the Senate Intelligence
               Committee in June, because it can give prosecutors a direct
               window into Trump's thinking shortly before he fired Comey.3

       20.     The above are just a few examples out of the countless news reports providing

detailed specifics of the Mueller Investigation nearly every day. Given the supposedly

confidential nature of the Mueller Investigation, the only only possible conclusion is that the

information contained in the leaks is being deliberately disseminated to the media by the only

persons with knowledge of such – Mr. Mueller and his staff.

       21.     Mr. Mueller and his staff have appeared to zero-in and deliberately targeted

former National Security Advisor Michael Flynn (“Mr. Flynn”) and his family. As reported by

Politico, Mr. Mueller’s “most experienced attorneys have discrete targets, such as…former

national security advisor Michael Flynn….”4

       22.     Mr. Mueller and his staff leaked to CNN that:

               Russian officials bragged in conversations during the presidential
               campaign that they had cultivated a strong relationship with former
               Trump adviser retired Gen. Michael Flynn and believed they could
               use him to influence Donald Trump and his team, sources told
               CNN.5

       23.     As a result of Mr. Mueller’s leaks, Mr. Flynn was forced to resign from his

position as National Security Advisor.



3
  Sonam Sheth, Mueller's investigation just got a boost — and another Trump associate may be
in its crosshairs, Business Insider, September 2, 2017, available at:
http://www.businessinsider.com/stephen-miller-trump-letter-comey-firing-obstruction-of-justice-
mueller-russia-investigation-2017-9
4
  Darren Samuelsohn, What Mueller’s org chart reveals about his Russia Probe, Politico, Nov.
13, 2017, available at: https://www.politico.com/story/2017/11/13/robert-mueller-russia-probe-
organization-244789.
5
  Sources: Russians bragged about using Flynn, CNN, undated video of news broadcast,
available at: http://www.cnn.com/videos/politics/2017/05/20/russia-michael-flynn-donald-
trump-influence-brown-borger-ac.cnn/video/playlists/michael-flynn/

                                               6
            Case 1:17-cv-02459-ABJ Document 1 Filed 11/15/17 Page 7 of 13



         24.     Mr. Mueller has now also leaked to media outlets, as recently as November 13,

2017, that he and his team are apparently investigating “an alleged plot involving Mr. Flynn, his

son and potentially others to forcibly and extra-legally effect the return of Fethullah Gulen to

Turkey in exchange for millions of dollars.”6

         25.     Mr. Flynn faces “potential criminal liability for being both late in disclosing his

foreign relationships, as well as being less than forthcoming in his disclosures…. Even if

Mueller’s team finds Flynn’s disclosure to be accurate… he could potentially be on the hook for

a far different – and less technical - offense than Manafort and Gates.”7

         26.     It is also clear that the leaks are not coming from those being investigated:

             In response to this CNN story, the President's attorney, Jay Sekulow,
             said, "President's outside counsel has not received any requests for
             documentation or information about this. Any inquiry from the special
             counsel that goes beyond the mandate specified in the appointment we
             would object to."8

         27.     Details about Mr. Mueller's sharing investigative information and procedures, as

well as collaborating with the Attorney General's office of the State of New York (itself subject

to confidentiality of criminal investigations as well) were also promptly leaked to the news

media.

         28.     Details of Mr. Mueller's investigation including focusing on possible obstruction

of justice by President Donald Trump and his campaign were promptly dumped into the public

realm in the news media.

6
  Steve Vladeck, Michael Flynn’s Legal Problems are as Dire as they Sound, NBC News, Nov.
13, 2017, available at: https://www.nbcnews.com/think/opinion/michael-flynn-s-legal-problems-
are-dire-they-sound-ncna820276.
7
  Id.
8
   Evan Perez, Pamela Brown and Shimon Prokupecz, One year into the FBI's Russia
investigation, Mueller is on the Trump money trail, CNN, August 4, 2017, available at:
http://www.cnn.com/2017/08/03/politics/mueller-investigation-russia-trump-one-year-financial-
ties/index.html

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          Case 1:17-cv-02459-ABJ Document 1 Filed 11/15/17 Page 8 of 13



       29.      Mr. Mueller and his team are clearly leaking confidential information regarding

their criminal investigation to media outlets and the public, as there is no other possible source of

the information that has been revealed to the public, through friendly media outlets.

                FACTS PERTAINING TO MR. MUELLER’S GRAND JURIES

       30.      Mr. Mueller has since convened two grand juries which have been functioning for

many months as the “legal heart” and base of operations of the Mueller Investigation.

       31.      Mr. Mueller convened a second grand jury in the District of Columbia after

already convening a grand jury in the Eastern District of Virginia at Alexandria, Virginia.

Because jurors are drawn from voter rolls, and Donald Trump received only 4.1% of the vote in

the District of Columbia for president on November 8, 2016, Mr. Mueller's efforts at juror

shopping are not only unethical but fail to provide the public an assurance of the appearance of

integrity in these proceedings. The grand jury in Virginia would have had all the authority

necessary to consider evidence across the river in Washington, D.C.

       32.      Given that President Donald Trump's campaign was headquartered in Manhattan,

there is no valid reason for an investigation of the 2016 presidential campaign to be sited in

Washington, D.C. The appearance is that the grand jury convened in Virginia was skeptical of

Mr. Mueller's presentations and Mr. Mueller sought a different group of grand jurors.

               MR. MUELLER AND HIS STAFF’S CONFLICTS OF INTEREST

       33.      28 CFR 45.2 mandates that no USDOJ employee may participate in a criminal

investigation or prosecution if he has a personal or political relationship with any person or

organization substantially involved in the conduct that is the subject of the investigation or

prosecution, or who would be directly affected by the outcome.




                                                 8
           Case 1:17-cv-02459-ABJ Document 1 Filed 11/15/17 Page 9 of 13



        34.     Mr. Mueller and his team suffer from numerous conflicts of interest that not only

mandate their removal, but also explain why the leaks are being disseminated to the media on a

daily basis. The damage of continuing leaks to the reputation of innocent persons is especially

harmful. The more the myth of collusion between Russia and the Trump presidential campaign

unravels, the more the flow of leaks accelerates each day.

        35.     Furthermore, Mr. Mueller's investigation turns on the credibility and personal

interests of Mueller's long-term colleague and close friend, former FBI Director James Comey.

(“Mr. Comey”)

        36.     Not only will the investigation impact Mr. Comey, but Mueller must judge his

own friend's credibility as a witness.

        37.     As recently as 2009, then Director of the FBI, Mr. Mueller personally carried

samples of highly-enriched uranium to Moscow, as shown in official diplomatic cables that have

been publicly released. While Mr. Mueller's involvement in transporting uranium samples to the

Russian Federation may have been proper 9 the task of the Special Counsel is to give public

confidence and the appearance of enhanced integrity in the Russian collusion investigation.

Compared with the professional permanent staff of the FBI and USDOJ, Mr. Mueller cannot

offer public confidence in the investigation having personally worked with Russia on such high

level issues.

        38.     If the evidence shows that Russia intervened in the election in relation to Hillary

Clinton's support for the sale of twenty percent (20%) of the uranium mining reserves of the

9
       "(S/NF) Background: Over two years ago Russia requested a ten-gram sample of highly
enriched uranium (HEU) seized in early 2006 in Georgia during a nuclear smuggling sting
operation involving one Russian national and several Georgian accomplices. The seized HEU
was transferred to U.S. custody and is being held at a secure DOE facility. In response to the
Russian request, the Georgian Government authorized the United States to share a sample of the
material with the Russians for forensic analysis."

                                                 9
            Case 1:17-cv-02459-ABJ Document 1 Filed 11/15/17 Page 10 of 13



United States to the Russian Federation as the leading member of the inter-governmental

decision-making body the Committee on Foreign Investment in the United States (CFIUS), Mr.

Mueller and his team would be ethically prohibited from honestly investigating and exploring the

truth.

          39.     Mr. Mueller knowingly hired an attorney who had previously -- within the last

year -- represented the Clinton Foundation of whom Hillary Clinton and Bill Clinton are

principals. Attorney Jeannie S. Rhee (“Ms. Rhee”), D.C. Bar No. 464127 was ethically required

to decline a position that places her in a conflict of interest as a staff attorney for Mr. Mueller.

          40.     Having previously represented the Clinton Foundation as an attorney, including

its Board of Directors and principals Hillary Clinton, Bill Clinton, Chelsea Clinton, and Former

Counselor of the U.S. Department of State Cheryl Mills, Ms. Rhee ethically cannot investigate,

work on, or prosecute the topics related to the investigation of collusion by the Russian

Federation with the presidential campaign of Donald Trump running against Hillary Clinton.

          41.     Ms. Rhee's involvement contaminates the entire investigation by Mr. Mueller's

office.

          42.     Furthermore, as Ms. Rhee’s supervisor and a supervising attorney, Mr. Mueller is

committing ethical violations by directing an attorney to violate the ethical requirements of the

Department of Justice and of the District of Columbia Bar.

          43.     Mr. Mueller's hiring of Ms. Rhee - and others - is in itself an ethical violation of

USDOJ standards and professional rules.           However, Mr. Mueller's refusal to correct this

unethical conduct speaks volumes and loudly proclaims the true nature of Mr. Mueller's

intentions and undertakings.




                                                   10
           Case 1:17-cv-02459-ABJ Document 1 Filed 11/15/17 Page 11 of 13



         44.     Now, Ms. Rhee is investigating Donald Trump's alleged Russian collusion with

Russia during the 2016 presidential campaign as one of Mr. Mueller's top lawyers. With Mr.

Mueller's experience, he obviously knows that the lawyers he is hiring will be legally prevented

from following the evidence wherever it leads. One must infer that Mr. Mueller intends a

hatchet job on President Trump in retaliation for his friend, Mr. Comey's, firing from head of the

FBI.

         45.     Legally Ms. Rhee can only investigate President Trump, even if the evidence

might show that Hillary Clinton -- through Ms. Rhee's former (recent) client the Clinton

Foundation -- actually colluded with Russia instead or that leaked emails from Hillary Clinton's

campaign were leaked by DNC employee Seth Rich. Ms. Rhee is not ethically or legally

allowed to look into alternative theories or any of the outrageous leaks from the deep state

defending Hillary Clinton's loss, the disclosure of Clinton campaign emails to Wikileaks, etc.

         46.     Two other lawyers on Mr. Mueller's team gave the maximum $2,700 donation to

Hillary Clinton in last year's election.

         47.     Three attorneys on Mr. Mueller's team - Andrew Weissmann, Jeannie Rhee, and

James Quarles - alone donated more than $50,000 to Democrats,10 and almost exclusively to

Democrats, according to Federal Election Commission campaign finance reports.

         48.     All told, more than half of Mr. Mueller's massive team of lawyers are influential

donors to the Democrat party investigating the presidential campaign of a Republican Donald

Trump.

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10
  Marshall Cohen, Special counsel team members donated to Dems, FEC records show, CNN,
June 13, 2017, available at: http://www.cnn.com/2017/06/12/politics/robert-mueller-donations-
democrats-fec/index.html.

                                                11
          Case 1:17-cv-02459-ABJ Document 1 Filed 11/15/17 Page 12 of 13



                                  FIRST CAUSE OF ACTION
                                      Writ of Mandamus

        49.     Freedom Watch repeats and re-alleges all of the previous allegations of the

entirety of this Complaint for Writ of Mandamus with the same force and effect, as if fully set

forth herein again at length.  

        50.     Under 28 U.S.C. § 1361, “[t]he district court shall have original jurisdiction of

any action in the nature of mandamus to compel an officer or employee of the United States or

any agency thereof to perform a duty owed to the plaintiff.”

        51.     Freedom Watch has requested that the IG and the OPR conduct an investigation

into the torrent of leaks coming from Mr. Mueller and his staff pertaining to the Mueller

Investigation, as well as the unethical conflicts of interest. The IG and OPR have refused to

confirm whether any investigation is underway, leading to the only possible conclusion that they

will not act without the judicial intervention requested in this Complaint for Writ of Mandamus

        52.     This Court must, pursuant to 28 U.S.C. § 1361, in the nature of mandamus,

compel Defendants to conduct an immediate, thorough investigation into the torrent of leaks

coming from Mr. Mueller and his staff pertaining to the Mueller Investigation set forth in this

Complaint for Writ of Mandamus

        53.     When Defendants’ investigation confirms that leaks did occur and that the

conflicts of interest actionable as ethical violations, Mr. Klayman respectfully requests an order

compelling Mr. Sessions and the USDOJ to order the removal of Mr. Mueller and his staff from

the investigation.

VI.     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays for relief and judgment against Defendant as follows:




                                               12
    Case 1:17-cv-02459-ABJ Document 1 Filed 11/15/17 Page 13 of 13



          (a)     A writ of mandamus compelling Defendants to conduct an immediate,

   thorough investigation into torrent of leaks coming from Mr. Mueller and his staff, as

   well as unethical conflicts of interest, pertaining to the Mueller Investigation and an order

   compelling Mr. Sessions and the USDOJ to order the removal of Mr. Mueller and his

   staff from the investigation when the investigation reveals that the leaks did originate

   from Mr. Mueller and his staff.

          (b)     Mr. Klayman reserves the right to supplement and/or amend this

   Complaint for Emergency Writ of Mandamus and Injunctive Relief.

Dated: November 15, 2017                  Respectfully submitted,

                                             /s/ Larry Klayman
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                                             D.C. Bar No. 334581
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                                             Attorney for Plaintiff




                                            13
